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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
EAG                                                271 Cadman Plaza East
F. #2018R01021                                     Brooklyn, New York 11201



                                                   October 14, 2021

                                                   Submitted Under Seal

By ECF

The Honorable Brian M. Cogan
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. Joseph Amato
                      Criminal Docket No. 19-442 (BMC)

Dear Judge Cogan:

               The government respectfully submits this letter in connection with the
sentencing of defendant Joseph Amato (the “defendant”), which is scheduled for October 21,
2021. The defendant is an inducted member of the Colombo organized crime family of La
Cosa Nostra, and at the time of his arrest in this case, he held the position of captain. In his
sentencing memorandum, the defendant seeks a sentence of 63 months’ imprisonment, which
is at the low-end of the Guidelines range set forth in the Pre-Sentence Investigation Report
(“PSR”) and below the government’s calculation of Guidelines range, as set forth in in the
plea agreement between the government and the defendant. In light of the seriousness of the
offenses to which the defendant pleaded guilty and the other factors set forth in 18 U.S.C.
§ 3553(a), the government respectfully submits that the applicable Guidelines range is 70 to
87 months’ imprisonment and that a sentence within the Guidelines range determined by the
Court is warranted.
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                                      BACKGROUND

I.     Defendant’s Membership in the Colombo Family

               At the time of his arrest in this case, the defendant was an inducted member of
the Colombo family and held the position of captain, a position he held for many years. In
order to become an inducted member, Amato swore his allegiance for the duration of his life
to the crime family above all else, including his own family.

               Prior to his arrest, the defendant sponsored multiple Colombo family
associates, who were then inducted as full-fledged members, one of whom was co-defendant
Thomas Scorcia. The defendant also regularly met with members of his crew.
Communications about Scorcia and another individual’s (“CC1”) induction ceremony
(believed to have taken place on December 11, 2018) and the fact of Scorcia’s induction
were intercepted on cellular telephones belonging to the defendant and Scorcia. For
example, on October 12, 2018 (JA1 #343), the defendant called CC1 and told him that he
could not say no to Amato’s invitation to meet him because “you never know what I
mean[,]” which was a reference to the fact that their next meeting could be CC1’s
forthcoming induction into the crime family. CC1 ultimately received a call about the actual
induction on or about December 10, 2018, when the defendant called CC1 and told him the
following (JA1 #4425):1

              You still (UI2) about that job tomorrow morning right? … Yeah
              okay, so meet me by my (UI) about nine. … Alight he told you
              what tools to bring and everything right …. Alright very good,
              we will look at it and if it’s good then you know we will go sign
              a contract, alright.

Later that day, Amato called CC1 again (JA1 #4494),

              Amato:         You should go to bed early. Did you press your clothes?
              CC1:           Yep.
              Amato:         You’re gonna look like Barzini or what?
              CC1:           (laughing) Barzini.
              Amato:         Barzini, I’ll see you by my mother’s around 9.

       1
               Intercepted communications are assigned a particular session number.
Telephone calls and text messages intercepted over the defendant’s two cellular telephones
are identified as “JA1 #” and “JA2 #”; telephone calls and text messages intercepted over
Scorcia’s six cellular telephones are identified as “TS1 #,” “TS2 #,” “TS3 #,” “TS4 #,”
“TS5 #,” and “TS6 #”; and telephone calls and text messages intercepted over Amato Jr.’s
cellular telephone are identified as “JAJ #.”
       2
              “UI” is an abbreviation for “unintelligible.”


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              CC1:          You got it.

Barzini is a reference to a fictional character in the movie, “The Godfather.” The following
day, law enforcement surveilled the defendant, Scorcia and CC1, all of whom were well-
dressed, entering Café Di Giorno in Brooklyn, and then Panino Perfetto, where they
remained for a few hours and where Scorcia and CC1 are believed to have been inducted into
the crime family.

               In subsequent telephone conversations between the defendant, Scorcia and
others, including one in January 2019, Scorcia and the defendant repeatedly referenced
Scorcia’s induction. For example, on January 12, 2019 (TS1 #212), the defendant
commented, “Yeah, I’m curious tonight with Fanucci,” a reference to an inducted member
from another crime family. Scorcia then sheepishly said, “Yeah, well, you know, like I says,
uh, he knows that you. You don’t think he don’t know? Of course, he knows,” and Amato
responded, “A hundred percent. I don’t think he’ll go there. He may give you a wink or
something. You know what I mean?”

               In a telephone call between the defendant and Scorcia on March 18, 2019 (TS3
#2388), in which the defendant and Scorcia discussed a funeral for the former official boss of
the Colombo family, Scorcia commented, “I ordered a charcoal grey suit, something new. I
don’t want to be like a stumble bum like everybody else. I represent you. This way we’ll be
nice and sharp.” In that same call, Scorcia also jokingly asked the defendant, after the
defendant suggested that Scorcia and codefendant Daniel Capaldo, another Colombo soldier,
drive the one-time boss’s body back to New York, “Do I move up in the ranks?” Scorcia’s
comment reflected his status as an inducted member who had the potential to move up in the
crime family hierarchy.

II.    The Defendant Took Extensive Steps to Evade Detection by Law Enforcement and
       Promote the Efforts of the Colombo Family

               The defendant made extensive efforts to ensure that neither his own illegal
actions nor those of his soldiers would be detected by law enforcement. Specifically, Scorcia
procured new, prepaid cellular telephones for the defendant, Daniel Capaldo (who also
reported to Amato) and himself on a monthly basis (requiring law enforcement to continually
identify the new phones and obtain authorization to intercept those communications). In
addition, the defendant and his soldiers limited their communications over the phone and
used code to avoid detection by law enforcement in the event (as it was) that his telephones
were wiretapped.

              Some of the crimes committed by the defendant are described below.

III.   Cyberstalking by Amato (2016 - 2017)

              In November 2016, a GPS tracking device was found on a Metropolitan
Transit Authority (“MTA”) bus in Staten Island during a routine maintenance inspection: it


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had been hidden in an oil pan. In fact, the defendant had purchased the device to place a
girlfriend, identified herein as Jane Doe, under close surveillance and used the tracking
device in an attempt to maintain control over her. To instill fear in Jane Doe, the defendant
boasted about the resources at his disposal. In one email obtained during the investigation,
he wrote, “This is my island. Not yours. I have the eyes all over[.]” In another, he said,
“I’m called a MANS MAN!!! … Anyone could end up in jail. I don’t wish it on anyone[.]
Especially weak men. Who could never deal with it. I thrived there and anywhere I go.”
The defendant’s surveillance of Jane Doe continued for a period of months and required the
defendant to regularly and covertly retrieve the device, charge it and then reposition it on
Jane Doe’s car. He abandoned the surveillance only after he discovered that the tracker was
no longer attached to Jane Doe’s car, at which time he reported the device lost to the
electronic service provider administering the tracking service. (The device apparently had
been discovered by Jane Doe and was placed on the MTA bus, likely to thwart Amato’s
stalking efforts.)

              Undeterred by the discovery of the first device, in May 2017, the defendant
obtained a replacement tracking device and again endeavored to place it on Jane Doe’s
vehicle and surveil her movements. The surveillance, however, was terminated after law
enforcement executed a search warrant at the defendant’s residence and discovered that he
had purchased a second device.

IV.    Threats to Assault Bar Employees by Amato, Amato Jr. and Silvestro (December
       2018)

              In the fall of 2018, a female with whom the defendant was romantically
involved accused the defendant of spending time with a different female at a commercial
establishment on Staten Island and told Amato that she had seen video footage confirming as
much. Thereafter, the defendant dispatched his son, Amato Jr., to threaten employees of the
commercial establishment to ensure that they did not further share video footage of the
defendant with anyone. Amato Jr. then recruited Silvestro to carry out his father’s order.

               In a telephone conversation on Friday, December 7, 2018 at 2:14 p.m.
(JAJ #965), Amato Jr. told Silvestro, “We might have to go do something quick tonight. …
We might have to stop by and talk to someone.” Silvestro readily agreed and then they
started to plan their approach. First, Amato Jr. asked, “Who do you think we can bring with
us? You think we can get three or four kids to come with us?” Silvestro answered, “It
depends. What are we trying to do?” Amato Jr. explained that they were going to “[h]ave a
serious talk with someone. … but it would be better if like… you know... if a lot of people
coming.” Silvestro expressed his willingness to engage in violence, asking, “We’re beating
this [expletive]’s ass or no?” but Amato Jr. said that that was not part of the plan.




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V.     Extortion of Gambling Business Operators by Amato, Amato Jr., Scorcia and Capaldo
       (December 2018 - January 2019)

               In December 2018, three family members (a father, a son and the son’s cousin)
were threatening to physically hurt a close friend of Amato Jr. (the “Friend”) if the Friend
did not make a timely payment on an outstanding gambling debt. On January 5, 2019, at the
direction of the defendant and soldiers in his crew, the Friend lured two of the family
members, the father and son, to a meeting place by telling them that he was going to pay
them. Instead, Scorcia and Capaldo, among others, accosted them and made clear to them
that they would not be receiving repayment of the debt.
               In one call after the resulting confrontation, which occurred on January 5,
2019 (JAJ #5042), Amato Jr. told his father, the defendant, “They got here they thought they
were cowboys and the second (unintelligible) got there they were like church mice. … The
second when they got here you know they thought they were nuts and then when we popped
out they were like church mice tails between their legs okay no problem no problem.”
Scorcia and Amato Jr. also exchanged a series of text messages, making clear their pleasure
at having intimidated the father and son:
              Scorcia:       They got the message good (JAJ #5230)
              Amato Jr.:     How embarrassing to get abused like that infront of infront of
                             your son that was great (JAJ #5236)
              Scorcia:       His son would have got knocked the f*** out (JAJ #5238)
              Amato Jr.:     Forget it! They knew it would be bad if they got stupid I wish he
                             would have said something (JAJ #5240)
              Scorcia:       Trust me me too but he was not a butt sorry and apologetic but I
                             just couldn't slap them but I almost seen black and I was just for
                             the fun of It (JAJ #5242) 3
              Amato Jr.:     Extremely apologetic and polite as can be lol (JAJ #5246)
VI.    Conspiracy to Assault Dominick Ricigliano
       (January – February 2019)

               For the past several years, Scorcia and codefendant Dominick Ricigliano both
operated loansharking businesses, and in or about 2017, Ricigliano became upset that Scorcia
was operating his business in locations that Ricigliano viewed as his turf. Ricigliano went to
Scorcia’s office in Brooklyn, New York, where he assaulted Scorcia and vandalized his

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              Scorcia subsequently sent a text message to Amato Jr., suggesting that he
wrote this message using the phone’s voice to text function and that it was garbled in certain
respects.


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property, and then directed several of Scorcia’s loansharking customers to stop paying
Scorcia and instead only make payments to Ricigliano. As noted above, in December 2018,
Scorcia was inducted into the Colombo family and, upon becoming a full-fledged member of
the crime family, Scorcia was determined to retaliate against Ricigliano. Scorcia enlisted
several of his codefendants for assistance, including Capaldo, Anthony Silvestro, Krenar
Suka and Albert Masterjoseph. He also sought and received the approval of the defendant, to
whom he reported in the Colombo family, and without whose approval he could and would
not have carried out the plan.

               First, on Wednesday, January 30, 2019, Scorcia directed one of their common
loansharking customers to tell Ricigliano that he was no longer going to make payments to
Ricigliano. On the evening of January 30, 2019, Scorcia and Suka went to the Woodrow
Diner in Staten Island where they planned to confront Ricigliano. At 8:06 p.m. (TS2 #1442),
Scorcia and Suka called Silvestro and complained that the Woodrow Diner was packed and
they were concerned about carrying out the planned confrontation. For example, Silvestro
proposed, “I would just wait for the kid to come out the place and grab him before he gets to
the car,” but Suka said, “It’s packed bro, there’s so many cars there, there’s so many people
there.” … Bro, I’m telling you, Tommy [Scorcia], tell him it’s fucking slammed in there
right now.” Scorcia echoed, “Fucking packed, people walking out with fucking kids, and
like (UI) fucking (UI).” Scorcia then lamented, “I’m fucking, I’m sick to my fucking
stomach, I was just gonna walk right in there, but there’s fucking people coming out with
fucking families.” As an alternative, Scorcia offered, “Horrible, he’s gonna have to fucking
text him, because he text him and say ‘Hey I want to meet you we’re gonna do something
here and there or whatever’ and bingo (UI) fucking pop up like that maybe tomorrow
afternoon or Saturday morning.” A few minutes later, at 8:37 p.m. (TS2 #1447), after
Scorcia and Suka had apparently left the dinner, Scorcia and Silvestro spoke again.

              Scorcia:       It’s a breakfast place, I get in, I’m about to get in the car I said,
                             “fuck it, I’m gonna go in there right now.”
              Silvestro:     And this rat really parked under the fucking cameras?
              Scorcia:       Yeah, 150%, I said, “I’m gonna go in there right now, and walk
                             in, I’m gonna blast (PH) the kid in the face.” I says,
                             “motherfucker.”
              Silvestro:     Yeah, yeah, yeah.
              Scorcia:       The mother fucker, the place is packed, (UI)
              Silvestro:     Listen, at the end of the day, you can’t fucking cannot
                             jeopardize the freedom for fucking some little jerkoff like that
                             you know what I mean
They then started to make plans for their next attempt. Silvestro said:




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              On Saturday, we shouldn’t even, we shouldn’t even make it a fucking
              song and a dance, we jump out. … Give him (UI) you send him a
              smack if he raises his hand back to you we beat the bricks off him,
              that’s it. …That’s the bottom line, we’re taking his shit, you’re giving
              him your fucking, breaking his shit, punching him and we’re out of
              there.
Scorcia answered, “Exactly. That’s what we’re gonna do.” They agreed to execute the plan
on Saturday. Scorcia also updated Capaldo about what had happened:
              Nothing, I just pulled into Woodrow or whatever, I’m gonna head
              home, I’m gonna head home, and uh, it just didn’t work, wasn’t good
              to fucking do the work, you know what I’m saying? Not enough time,
              whatever, the valves wouldn’t hold, lot of fucking people, too many
              people complaining they would have had no water, so it would have
              been really, uh, fucked up.
                                                  ***
              You know, one of the big plumbers that I had with me, not the one you
              know, the other one, he didn’t like it. You know, so, what the fuck was
              I gonna do? You know? Abort the job? What would we do? We’d
              have to do OT on the whatever. Alright, I'll talk to you tomorrow then.
              No worries, all good.
               Scorcia, Silvestro, and Masterjoseph attempted to carry out the plan on the
following Saturday, February 2, 2019, but the plan was thwarted when they went to
Ricigliano’s residence and discovered he had cameras installed that could capture their
actions on a recording. At 1:15 p.m. (TS2 #2066), Scorcia called Capaldo and asked him to
put the defendant on the line.

              Scorcia:      Oh, alright. So, hear, hear me out, the whatchamacallit, the guy
                            that we have to do the job, off the job for, run all the lines and
                            everything, doesn't uh, was avoiding the kid, doesn't want to
                            meet, doesn’t want to start the work, the only way he would meet
                            the kid, to do what they have to do, would be in front of his house.

              Amato:        They would only meet in front of his house?

              Scorcia:      Yeah, where he’s got, uh, cameras all over it.

              Amato:        Yeah, alright, stupid, don’t worry, don’t go over his house, that’s
                            for sure, Cuz.

              Scorcia:      Don’t, right?

              Amato:        No, no, you control the situation. Don’t let him control it.


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              Scorcia:       Yeah.

              Amato:         Alright, just leave it alone, leave it until tomorrow, we’ll talk,
                             alright.

A few minutes later, at 1:27 p.m. (TS2 #2069), Scorcia related to Suka that the defendant had
told him to abort the plan: “I just, uh, tried to get permission over there.” Scorcia then
observed, “That's ridiculous over there by the house. I don’t know, but he’s [referring to
Ricigliano] fucking, (UI) chicken shit, he’s got no balls, he’s a telephone tough guy, you
know that, you know.” On Tuesday, February 5, 2019, Scorcia and others tried again to
carry out their plan to confront and assault Ricigliano. In a call at 12:44 p.m. (TA2 #2477),
Scorcia told Silvestro, “Just give me a heads up what time ya know, this way I can get the
other gorilla to come and meet us, from the other day. … Five, 6:00 (UI) later, you tell m-, ya
know, what do you think? Wanna get a little darker? Right? … We could do it right in New
Dorp too ‘cause that’s where that kid lives.” Law enforcement then warned Ricigliano about
the potential assault, causing Scorcia and others to abandon their plan that night.

                Notwithstanding law enforcement scrutiny, as evidenced by a call on February
8, 2019 at 1:33 p.m. (TS2 #2987), wherein Silvestro told Scorcia that he had instilled fear in
“the kid,” an apparent reference to Ricigliano, Silvestro followed through with some form of
their plan after all:

              Silvestro:     I’ve got the funniest fucking video to show you when I see you.
                             You’re gonna pee your pants.

              Scorcia:       Fuck! I spoke to my buddy, he says he’ll let me know, so
                             hopefully it won’t be fucking dead. He’s fucking scared this
                             fucking kid. You don’t think so?

              Silvestro:     Bro, you have no idea what I did to him.

              Scorcia:       Motherfucker! Why can’t I be there!?!? Motherfucker!
                             (Laughing) Motherfucker.

                                        DISCUSSION

I.     The Guidelines Calculation

                The government agrees with the Guidelines calculation in the PSR with one
exception. Specifically, the government submits that the Probation Department conflated the
multiple racketeering act analysis, necessary to calculate the adjusted offense level for Count
One, with the multiple count analysis, necessary to calculate the total adjusted offense level
for Counts One and Five. Because U.S.S.G. § 3D1.4 provides for a maximum increase of
five levels, the effect of the Probation Department’s approach (also advocated for by the
defendant) is that the adjusted offense level for Counts One and Five together does not



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include the additional one-level increase, as set forth in the government’s proposed
calculation below.

       Count One:
              R.A. 4: Extortion – John Doe #4
              Base Offense Level (§ 2B3.2(a))                            18

              Plus: Offense Involved Threat of Bodily Injury             +2
              Total:                                                     20
              R.A. 6: Extortion – John Doe #5
              Base Offense Level (§ 2B3.2(a))                            18

              Multiple Racketeering Act Analysis (§ 3D1.4)
              Highest Adjusted Offense Level                             20

              Units:
                              Racketeering Act 4 (§ 3D1.4(a))            1
                              Racketeering Act 6 (§ 3D1.4(a))            1
                              Racketeering Act 5 (§ 3D1.4(b))            ½
                              Racketeering Act 8 (§ 3D1.4(a))            1
                              Racketeering Act 9 (§ 3D1.4(b))            1
                              Racketeering Act 11 (§ 3D1.4(a))           1
                       Total Units:                                      5½
                       Levels Added (§ 3D1.4):                           +5
              Plus: Defendant Was an Organizer or Leader
                    ((§ 3B1.1(a))                                        +4
              Adjust Offense Level:                                      29
       Count Five:
              Base Offense Level (§ 2A6.2(a))                            18

              Plus:     Offense involved pattern of activity involving
                        stalking, threatening, harassing or assaulting
                        the same victim (§ 2A6.2(b)(2)(e))               +4

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                Adjusted Offense Level:                                     22

        Multiple Count Adjustment (§ 3D1.4)

                Highest Adjusted Offense Level                              29

                Units:
                                Count One (§ 3D1.4(a))              1
                                Count Five (§ 3D1.4(b))             ½
                         Total Units:                                       1½
                         Levels Added (§ 3D1.4):                            +1
                Less: Global resolution (§5K2.0)                            -1
                Total:                                                      29


                 The government submits that the Probation Department should have separately
 applied the multiple racketeering act analysis pursuant to Application Note One of 2E1.1 and
 then applied the multiple count analysis pursuant to Section 3D1.4. Such an application is
 consistent with Section 1B1.1, which provides that in calculating the applicable Guidelines
 range, first, the base offense level and any appliable adjustments should be calculated (see
 U.S.S.G. § 1B1.1(a)(1), 1B1.1(a)(2)), next, any applicable adjustments in Parts A, B, and C
 of Chapter Three should be applied (see U.S.S.G. § 1B1.1(a)(3)), and only then, where, as
 here, there are multiple counts, should the multiple count adjustment described in Section
 3D1.4 be applied. U.S.S.G. § 1B1.1(a)(4). Accordingly, the government respectfully
 submits that based on a plain reading of the Section 1B1.1, the Court should calculate the
 Guidelines as set forth above, which includes a five-level increase to determine the adjusted
 offense level for Count One, and then a second one-level increase under Section 3D1.4 to
 determine the total adjusted offense level for Counts One and Five together.

 II.     A Sentence Within the Applicable Guidelines Range is Warranted

                The government respectfully submits that, in this case, a sentence within the
 advisory Guidelines range determined by the Court is appropriate in light of all relevant
 factors, including the nature and characteristics of the offense, the history and characteristics
 of the defendant, and the need for the sentence to reflect the seriousness of the offense, to
 promote respect for the law, to provide just punishment, to afford adequate deterrence and to
 protect the public.




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        A.     Legal Standard

               The Sentencing Guidelines are advisory, not mandatory. United States v.
 Booker, 125 S. Ct. 738, 764-65 (2005). However, the Supreme Court held in Booker that the
 sentencing court must consider the Guidelines in formulating an appropriate sentence. Id. In
 Gall v. United States, 552 U.S. 38 (2007), the Supreme Court set forth the procedure for
 sentencing courts to follow in light of Booker:

               [A] district court should begin all sentencing proceedings by
               correctly calculating the applicable Guidelines range. As a
               matter of administration and to secure nationwide consistency,
               the Guidelines should be the starting point and the initial
               benchmark.

 Gall, 552 U.S. at 49 (citation omitted). Next, a district court should “consider all of the
 § 3553(a) factors to determine whether they support the sentence requested by a party. In so
 doing, [the district court] may not presume that the Guidelines range is reasonable. [The
 district court] must make an individualized assessment based on the facts presented.” Id. at
 49-50 (citation and footnote omitted).

        B.     Analysis

               Based on the factors set forth in 18 U.S.C. § 3553(a), a sentence within the
 Guidelines range is appropriate in this case.

               1.     The Nature and Circumstances of the Offense

                 The defendant has been convicted of very serious crimes: racketeering and
 interstate stalking. With respect to the racketeering offense, the defendant committed that
 crime with the backing and support of the Colombo crime family, a violent criminal
 organization, and relied upon his reputation as a fearsome captain to ensure that the
 defendant’s demands were met. In his position as a captain, the defendant used his
 subordinates to make money for the defendant and otherwise advance his own interests, all
 the while approving the use of violence, including the threat of violence, by those
 subordinates. With respect to the stalking offense, the defendant caused a GPS tracking
 device to be installed on his then-girlfriend’s car and then used the GPS tracking device to
 surveil his then-girlfriend’s movements and try to intimidate her. After the device was
 detected and removed from the vehicle, he procured another device to attempt to continue to
 track her movements.
 .
                 2.     The Defendant’s History and Characteristics

                As discussed above, the defendant’s history and characteristics show that the
 defendant is committed to a life of crime and the crimes to which he pleaded guilty were
 hardly aberrational. The defendant previously pleaded guilty to serious offenses in

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 connection with the Colombo family, served a lengthy sentence, and then, upon his release,
 returned to the very crime family that led him to prison.

                The defendant’s prior convictions and the related periods of incarceration have
 thus far not only failed to deter him from engaging in future criminal activity, but also failed
 to deter him from introducing his son (and now co-defendant) into a life of organized crime.
 As described in the PSR and herein, the defendant regularly included his son in criminal
 activity connected to the crime family. In so doing, the defendant revealed his utter
 disregard for the law, his willingness to compromise his own family for the benefit of
 organized crime, his unwavering investment in a life of crime and his dedication to
 mentoring and empowering others to engage in violent crime on behalf of the Colombo
 family.

                The defendant has also shown a willingness to personally engage in severe
 violence in order to protect his reputation as a violent mobster.4 As described in the
 detention memorandum, in June 2014, the defendant and his son, Joseph Amato Jr., together
 with several other members of the defendant’s crew, viciously assaulted an individual (“I-1”)
 after I-1 expressed indifference as to the defendant and his reputation on Staten Island. The
 night before the assault, I-1 tried to intercede after he saw Amato Jr. disrespecting a young
 woman. In response, Amato Jr. told I-1 that he should mind his own business and when I-1
 persisted, Amato Jr. boasted, “Do you know who my father is?” I-1 did not and, as a result,
 the following day the defendant, Amato Jr. and other members of the defendant’s crew tried
 to send a message to I-1 and others to ensure that the defendant was feared and that he
 received what the defendant believed was the proper degree of respect. The defendant and
 his crew lured I-1 to an isolated area and then assaulted him, leaving him with significant
 head lacerations that required staples.

               In sum, the defendant’s history and characteristics also support a sentence
 within the Guidelines range. 18 U.S.C. § 3553(a)(1).

               3.      Reflecting the Seriousness of the Offense, Promoting Respect for the
                       Law and Providing Just Punishment

               The sentence must reflect the seriousness of the offense, promote respect for
 the law and provide just punishment. 18 U.S.C. § 3553(a)(2)(A). As noted above, the
 defendant’s offenses are serious, in particular because he committed them in connection with
 his membership in the Colombo family. By engaging in criminal activity in connection with
 the Colombo family, the defendant has demonstrated an utter lack of respect for the law.



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                The conduct described herein was not included in the PSR. Because it is a
 relevant fact at sentencing, the government respectfully requests that it be included in the
 PSR.


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               4.      Affording Deterrence and Protecting the Public

               The sentence must afford adequate deterrence to criminal conduct and protect
 the public from further crimes of the defendant. 18 U.S.C. § 3553(a)(2)(B) and (C). “Under
 section 3553(a)(2)(B), there are two major considerations: specific and general deterrence.”
 United States v. Davis, No. 08-CR-332 (JBW), 2010 WL 1221709, at *2 (E.D.N.Y. March
 29, 2010).

                  When the defendant became a member of the Colombo crime family, he took
 an oath, swearing to remain loyal to this violent criminal organization for the remainder of
 his life. The government respectfully submits that despite numerous claims to the contrary at
 sentencing proceedings, aside from those who decide to cooperate against members of the
 mafia (and therefore are not permitted to maintain a connection to the mafia upon disclosure
 of their cooperation), few if any members of the mafia give up their connections to the mafia
 even after serving significant terms of imprisonment. Given the defendant’s track record,
 there is little doubt that he will never abandon his dedication to the crime family and a life of
 crime.

                A sentence within the Guidelines range will, however, at least incapacitate the
 defendant, thereby protecting the public from further crimes he would otherwise commit
 during that period of time. Given the need for deterrence and incapacitation, the government
 respectfully submits that a sentence below the Guidelines range would be insufficient to
 protect the public from further crimes of the defendant. See 18 U.S.C. § 3553(a)(2)(C).

               5.      Avoiding Unwarranted Disparities

               Finally, a sentence within the Guidelines range is necessary to avoid
 unwarranted sentence disparities among defendants with similar records who have been
 found guilty of similar conduct.” 18 U.S.C. § 3553(a)(6).

 IV.    A Fine Within the Guidelines Range Is Warranted

               The government also asks the Court to impose a fine. Section 5E1.2(a) of the
 Guidelines provides that “[t]he court shall impose a fine in all cases, except where the
 defendant establishes that he is unable to pay and is not likely to become able to pay any
 fine.” The defendant bears the burden of proving an inability to pay. United States v. Tocco,
 135 F.3d 116, 133 (2d Cir. 1998). In this case, the defendant cannot sustain this burden.
                 In the PSR, the defendant declined to report his employment history and
 instead simply reported that he had no assets. (PSR ⁋⁋ 200, 211). In so doing, he failed to
 disclose that he had incorporated one or more business, opened bank accounts for those
 businesses and deposited thousands of dollars in cash into those bank accounts. He also
 failed to disclose that he earned a substantial sum in connection with his position in the
 Colombo family. As one small example, in the spring of 2017, when a search warrant was
 executed on the defendant’s residence, law enforcement recovered a piece of paper that was


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 consistent with a list of loansharking customers, their outstanding balances and their weekly
 payments; the paper listed 13 customers who owed a total of $167,100. The government
 respectfully submits that in these circumstances, the defendant has not carried his burden to
 show that he cannot pay a fine and the sentence in this case should include a fine within the
 advisory Guideline range of $25,000 to $250,000. U.S.S.G. § 5E1.2(c)(3).
                                        CONCLUSION

                 In this case, given all of the facts and circumstances discussed above, a
 sentence within the applicable Guidelines range is necessary in order to achieve the purposes
 set forth in 18 U.S.C. § 3553(a).


                                                   Respectfully submitted,

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